Dear Auditor McCaskill:
This office received your letter of June 27, 2006, submitting a fiscal note and fiscal note summary prepared under Section116.175, RSMo, for Senate Joint Resolution 26 submitting to the voters a constitutional amendment relating to veterans' organizations and tax exemption. The fiscal note summary that you submitted is as follows:
  It is estimated this proposal will have a minimal cost to state government. The estimated costs to local governmental entities range from zero to approximately $45,000.
Under Section 116.175, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the Senate Joint Resolution or as the expression of any view regarding the objectives of its proponents.
Very truly yours,
  JEREMIAH W. (JAY) NIXON Attorney General